                               Case 5:17-cv-00079-JLH Document 11 Filed 06/16/17 Page 1 of 2
(Post'. 3/12/i4J

       U.S. Department of Justice                                                             PROCESS RECEIPT AND RETURN
                                                                                              See Instructions for "Service of Process by the U.S. Marshal"
       United States Marshals Service                                                         on the reverse of this form.

       PLAINTIFF                                                                                                                COURT CASE NUMBER
          Charles E Hamner, ADC #143063                                                                                           5:17-cv-00079-JLH-BD
       DEFENDANT                                                                                                                TYPE OF PROCESS
          Danny Burls, et al.                                                                                                   Summons & Complaint
       SERVE                  NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN




            •
            AT
                           Connie Jenkins,Classification, Maximum Security
                              ADDRESS Street or RFD, Apartment No., City, State and ZIP Code)

                           P.O. Box 20550
       SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAlllE AND ADDRESS BELOW:
                                                                                              Pine Bluff, AR
                                                                                                                           c/o ADC Compliance Division


                                                                                                                                71612

                                                                                                                 I Number cl process to be
                   I Charles   E Hamner, ADC #143063
                                                                                                                 I served lllith this Form - 286
                                                                                                                 I

                      VARNER SUPERMAX                                                                            : Number of parties to be
                      Arkansas Department of Correction                                                          I served in this case
                      Post Off ice Box 400
                  I   Grady, AR 71644-0400                                                                       :check for service
      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , o n U.S.A.

      SPECIAL INSTRUCTIONS OR OT1-ER INFORMATION THAT WLL ASSIST IN EXPBJITING SERVICE (Include Business afl!IJAltemate ;mutresses,
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      ro~ephone Number, and Estimated Times Available For Service):                        FILED           Vl
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                                                                          JAMES W. McCORMACK, CLERK
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      Signature of Attorney or other Originator requesting service on behalf ol:                                     TELEPHONE NUMBER                          DAT!'~
                                                                                              0 PLAINTIFF
          /s/ M. Frost, Deputy Clerk                                                          0   DEFENDANT          501-604-5351                              5/19/2017

       SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
      I acknowledge receipt for the total     Total Proce     District      District                                             puty or Clerk                            Date
      number of process indicated.                            of Origin     to Serve
      (Sign only first USM 285 if more
      than one USM 285 is submitted}                           No.   di    No      {j"J
      I hereby certify and return that I ~ have personally served, 0 have legal evidence of service, 0 have executed as shown in "Remarks", the process described
      on the individual, company, cor6'oration, etc., at the address shown above or on the individual, company, corporation, etc., shown at the address inserted below.

      0   I hereby certify and return that I am unable to locate the individual, company, corporation, etc.,          named above (See remarks below)

      Name and title of individual served (if not shown above)                                                                            A person of suitable age and dis-
                                                                                                                                      0   aatia1 then residing in the defendant's
                                                                                                                                          usual place of abode.
      Address (comp/8te only if different than shown above}                                                                           Date f Service        Time                            a

                                                                                                                                                               ~J'O~                        pm



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           Service Fee     Total Mileage Charges       Forwarding Fee iTotal Charges       Advance Deposits     Amount owed to U.S. Marshal or                 Amount of Refund


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                           (includmg endeavors)
           /]()                                                           /Ja
      REMARKS:




      PRIOR EDITIONS                                                                                                                         FORM USM-285 (Rev. 12/15/80)
      MWBE USED
                                                              1. CLERK OF THE COURT
           Case 5:17-cv-00079-JLH Document 11 Filed 06/16/17 Page 2 of 2




                               Arkansas Board of Corrections
                                   Compliance Division
                                   Post Office Box 20550
                                White Hall, Arkansas 71612
                                  Phone: (870) 267-6752
                                    Fax: (870) 267-6755


MEMORANDUM

TO:           United States Marshals Service, Western District

FROM:         Chris Coody, Investigator Compliance Division

RE:           Accepting Service/ Returning Service/Additional Service

DATE:         June 12, 2017


Please be advised that I am Accepting Service on these copies of this lawsuit, case no.
5:17CV00079, Im. Charles E. Hammer, ADC#143063, v, Danny Burl et al, for the
following, on this Date: June 12, 2017:

        Danny Burl, Warden, MSU
        Connie Jenkins, Classification, Ester Unit
        Maurice Williams, Major, Grimes Unit
        Steve Outlaw, Deputy Warden, Pine Bluff Unit
        Marvin Evans, Retired, Deputy Director ADC


This case is assigned to Chris Coody, Investigator for the Compliance Division.

This case was delivered by U. S. Marshal's Service

cc:     Attorney General's Office
        Case File
